Case 4:12-cr-00054-CVE Document 12 Filed in USDC ND/OK on 05/14/12 Page 1 of 1




                        UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OKLAHOMA

United States of America,
                                          Plaintiff,

vs.                                                        Case Number: 12-CR-054-CVE

Cody Allen Jones,
                                        Defendant.



                                          SCHEDULING ORDER


At the direction of Claire V. Eagan, U.S. District Judge, it is hereby ordered that:

 Motions due:                                                               5-29-2012
 Responses due:                                                             6-11-2012
 PT/CP/Motions Hearing:                                                     6-21-2012       at 1:00 p.m.
 Voir dire, jury instructions, and trial briefs due:                        7-9-2012
 Jury Trial:                                                                7-16-2012       at 9:15 a.m.

                                                       Phil Lombardi,
                                                       Clerk of Court, United States District Court


                                                       /s/ D. Holland
                                                       By: D. Holland, Deputy Clerk




Scheduling Order                                                                                  CR-04 (02/04)
